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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA                      INDICTMENT

                  v.                           Case No. ______________________

 JAKE COLT MARTELL                             Violation: 18 U.S.C. §§ 751(a) and 4082(a)

                                 Escape from Custody

The Grand Jury Charges:

      On or about February 13, 2024, in the District of North Dakota,

                                JAKE COLT MARTELL

did knowingly escape from the custody of Lake Region Residential Reentry Center in

Devils Lake, North Dakota, a halfway-house institutional facility in which he was

lawfully confined at the direction of the Attorney General by virtue of his judgment of

conviction entered on September 8, 2020, for Conspiracy to Distribute a Controlled

Substance, in violation of Title 21, United States Code, Section 846, in United States

District Court for the District of North Dakota case number 1:19-cr-47;

      In violation of Title 18, United States Code, Sections 751(a) and 4082(a).


                                          A TRUE BILL:

                                         _________________________________
                                         /s/ Foreperson
                                         Foreperson

/s/ Mac Schneider
MAC SCHNEIDER
United States Attorney

JTR/alk
